 Case 6:24-cv-00357-JDK Document 11 Filed 10/11/24 Page 1 of 2 PageID #: 49




                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISON



 UNITEDHEALTHCARE BENEFITS OF
 TEXAS, INC., et al.,

                 Plaintiffs,

        v.                                                Civil Action No. 6:24-cv-357-JDK

 CENTERS FOR MEDICARE & MEDICAID
 SERVICES, et al.,


                 Defendants.



ORDER GRANTING THE PARTIES’ JOINT MOTION FOR EXPEDITED SUMMARY
                 JUDGMENT BRIEFING SCHEDULE

       Before the Court is the parties’ joint motion to set an expedited summary judgment briefing

schedule for this case. Having fully considered the motion, the Court is of the opinion that

the motion should be GRANTED. It is therefore ORDERED that the briefing schedule for

summary judgment in this matter is as follows:

       1. Defendants produce Administrative Record: October 8, 2024.

       2. Plaintiffs’ Motion for Summary Judgment and supporting Memorandum: October 15,

             2024.

       3. Defendants’ consolidated Cross-Motion for Summary Judgment (and supporting

             Memorandum) and Opposition to Plaintiffs’ Motion for Summary Judgment: October

             30, 2024.

       4. Plaintiffs’ consolidated Opposition to Defendants’ Cross-Motion for Summary

             Judgment and Reply in Support of Motion for Summary Judgment: November 7, 2024.


                                                 1
 Case 6:24-cv-00357-JDK Document 11 Filed 10/11/24 Page 2 of 2 PageID #: 50




       5. Defendants’ Reply in Support of Cross-Motion for Summary Judgment: November 14,

           2024.

       Plaintiffs’ Motion for Summary Judgment and supporting Memorandum will be limited to

25 pages. Defendants’ consolidated Cross-Motion for Summary Judgment (and Supporting

Memorandum) and Opposition to Plaintiffs’ Motion for Summary Judgment will be limited to 25

pages. If Defendants’ Cross-Motion does not raise procedural defenses distinct from the merits, a

10-page limit will apply both to Plaintiffs’ consolidated Opposition to Cross-Motion for Summary

Judgment and Reply and to Defendants’ Reply. If Defendants’ Cross-Motion does raise such

procedural defenses, a 15-page limit will apply both to Plaintiffs’ consolidated Opposition to

Cross-Motion for Summary Judgment and Reply and to Defendants’ Reply.

       Defendants’ obligation to answer the Complaint is stayed pending the resolution of the

Parties’ cross-motions for summary judgment.

       The Parties shall file all briefs (and any administrative record materials) provisionally

under seal and submit redacted public filings, as well as motions to file under seal—if any—within

7 days of briefing being completed. The Parties shall seek to reach agreement on any sealing

matters to narrow requests for sealing as much as possible.

       Finally, the Court hereby sets the Parties’ cross motions for summary judgment for an in-

person hearing on November 18, 2024, at 10:00 a.m., at the William M. Steger Federal Building

and United States Courthouse, 211 West Ferguson Street, Tyler, TX 75702.

       So ORDERED and SIGNED this 11th day of October, 2024.



                                                 ___________________________________
                                                 JEREMY D. KERNODLE
                                                 UNITED STATES DISTRICT JUDGE




                                                2
